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                            United States District Court for the Southern District of Iowa

Presiding: Honorable Stephen H. Locher, U.S. District Judge
Case No. 4:24-cv-00390-SHL-HCA                 :                                   Clerk’s Court Minutes – Motion Hearing
______________________________________________________________________________________________________________________________________

Plaintiff(s)                       :                            Defendant(s)
                                   :
ORCUN SELCUK, ALAN DAVID           :                            PAUL D. PATE, BENJAMIN D. STEINES,
GWILLIAM, TINGTING ZHEN, MICHAEL   :                            JAMIE FITZGERALD, MELVYN HOUSER,
BROKLOFF, and THE LEAGUE OF UNITED :                            ERIN SHANE, and KERRI TOMPKINS
LATIN AMERICAN CITIZENS OF IOWA    :
                                   :
_______________________________________________________________________________________________________________________________________

Plaintiff(s) Counsel: Joseph R. Quinn; Thomas D. Story; Ritta Bettis Austen; Ari J. Savitzky; Jonathan Topaz;
                      Ming Cheung; Patricia Jia Yan

Defendant(s) Counsel: Eric H. Wessan; Patrick Valencia; Donald D. Stanley, Jr; Katie Gral

Court Reporter: Karla Ray                                   :   Interpreter: N/A
_______________________________________________________________________________________________________________________________________

Motion(s) for Ruling:                                                            Ruling           /     Ruling Reserved
______________________________________________________________________________________________________________________________________

Plaintiff's Emergency Motion for Expedited Discovery (ECF 40)                   Denied            :
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_______________________________________________________________________________________________________________________________________

Proceedings:
Court is convened via a telephone for a hearing on Plaintiff's Emergency Motion for Expedited Discovery (ECF
40). Plaintiffs argue in support of the Emergency Motion. Defendants argue in resistance. Plaintiffs argue in
rebuttal. For the reasons stated on the record, the Court concludes good cause does not exist to grant the Motion.
Plaintiff's Emergency Motion for Expedited Discovery (ECF 40) is therefore denied. No written order shall
follow. Court adjourns.




Time Start: 1:00 p.m.
Time End: 1:52 p.m.
Date: November 6, 2024                                                                    /s/ M. Mast
                                                                                          __________________________
                                                                                          Deputy Clerk
